 Case 1:23-cr-00103-LEW Document 30 Filed 10/13/23 Page 1 of 3       PageID #: 57




                      UNITED STATES DISTRICT COURT
                           DISTRICT OF MAINE


UNITED STATES OF AMERICA,                    )
                                             )
v.                                           )   Case No.: 1:23-cr-00103-LEW
                                             )
                                             )
ANGELO CASTIGLIOLA,                          )
              Defendant.                     )


              MOTION TO ENLARGE DEADLINES AND CONTINUE

NOW COMES the Defendant, by and through his Undersigned Counsel, and

hereby requests that this Honorable Court enlarge the procedural deadlines in

this matter and continue the case to the January trial list, and in support thereof

states as follows:

       1.     Undersigned was appointed to this matter on August 31, 2023.

Undersigned recently received the discovery in this matter, however, he has not

had an opportunity to review it. In addition, the Defendant was arraigned on

October 10, 2023.

       2.     Following the arraignment, the Court issued a Procedural Order

setting various deadlines, as well as placing the matter for trial on the November

trial list.

       3.     Due to the recent appointment, lack of review of recently received

discovery, and current schedule with the courts, including a criminal jury trial,

Undersigned will need more time to prepare and review discovery in this matter.




                                         1
Case 1:23-cr-00103-LEW Document 30 Filed 10/13/23 Page 2 of 3           PageID #: 58




      4.    For these reasons, the Defense is requesting that deadlines in this

matter be enlarged as follows:

            a. The deadline for filing any pretrial motions reset to December 19,

               2023;

            b. Confer with the Government in regard to discovery and pretrial

               motions by November 1, 2023, or at a different time as agreed to

               by both sides; and

            c. Disclosure of expert witnesses by January 2, 2023.

      5.    In addition, due to the enlargement of these deadlines, the Defense

is requesting that the matter be continued to the January trial list.

      6.    The Defense has consulted with the Government, and they do not

object to this motion.

      7.    The Defendant waives his right to a speedy trial and consents to

such time being excludable pursuant to Title 18, United States Code §

3161(h)(7)(A), and further states that the interest of justice would be furthered

by the continuance/enlargement of time for the reasons stated herein.

      WHEREFORE, the Defense respectfully requests this Court grant this

motion in all respects and order any further relief it deems just and proper.




                                        2
Case 1:23-cr-00103-LEW Document 30 Filed 10/13/23 Page 3 of 3        PageID #: 59




                                           Respectfully submitted,




Dated: October 13, 2023                    /s/ Scott Hess
                                           Scott Hess, Esq., BBO #004508
                                           Attorney for the Defendant
                                           Law Office of Scott F. Hess
                                           114 State Street
                                           Augusta, ME 04330
                                           (207) 430-8079
                                           Scott@hesslawme.com




                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MAINE


                          CERTIFICATE OF SERVICE

      I hereby certify that on October 13, 2023, I filed the foregoing Motion to
Enlarge Deadlines and Continue using the Court’s CM/ECF system, which will
cause a copy of the Motion to be sent to all counsel of record.




                                           /s/ Scott Hess
                                           Scott Hess, Esq., BBO #4508
                                           Attorney for the Defendant
                                           Law Office of Scott F. Hess
                                           114 State Street
                                           Augusta, ME 04330
                                           (207) 430-8079
                                           Scott@hesslawme.com




                                       3
